                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 ZANDER GROUP HOLDINGS, INC.,                     )
 and JEFFREY J. ZANDER,                           )
                                                  )
         Plaintiffs,                              )
                                                  )   NO. 3:18-cv-00653
 v.                                               )   CHIEF JUDGE CRENSHAW
                                                  )
 KATZ, SAPPER & MILLER, LLP,                      )
 KSM BUSINESS SERVICES, INC., and                 )
 ANDREW J. MANCHIR,                               )
                                                  )
         Defendants.                              )

                                             ORDER
        Pursuant to Administrative Order No. 176, this action is transferred to U.S. District Judge

William L. Campbell, Jr., as a “Related Case” to Civil Action No. 3:17-cv-01187.

        IT IS SO ORDERED.



                                             ____________________________________
                                             WAVERLY D. CRENSHAW, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE




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